
Bullard, J.
delivered the opinion of the court.
This is an action against Kraft as drawer of a bill of exchange, which was duly protested for non-payment. The defendant being an absentee, process of attachment was sued out, and James R. Sterrett an attorney at law, was made garnishee.
*713In answer to interrogatories, Sterrett says, “ I have no money in my possession, or under my control, belonging to the defendant.” He then goes on to state that he has sundry notes owing by different persons, but principally by H. O. Oammack &lt;&amp; Oo., which he enumerates and describes. To an interrogatory whether those effects in his hands were not placed there to be appropriated to the payment of the bill sued on, he answers in the negative. In a supplemental answer the garnishee, afterwards, says that at the time the answer was filed by him, he had entirely forgotten the acceptance by him of a draft of J. H. Kraft in liquidation, in favor of D. W. Briggs, cashier, for three sevenths part of the claim of Kraft &amp; Oo., against M. De Lizardi &amp; Oo. (when collected), which had been placed in his hands for collection; which acceptance was made early in 1838. That the notes mentioned in the first instance, came into his hands after the suit against Lizardi &amp; Oo. had been discontinued by order of the plaintiffs’ agent. It further appears that, [567] since the first answers, one of the notes amounting to $1500 had been paid.
It thus appears that Sterrett had, at the time the attachment was levied, nothing else belonging to the defendant, Kraft, and the evidence shows that a part of the original claim against Lizardi &amp; Oo., amounting to about $14,000 had been received by him and paid over to Thomas Barrett, acting as the agent of Kraft.
Why Sterrett did not pay to the bank in discharge of the obligation he had contracted, to pay over three sevenths of what he might collect from Lizardi &amp; Oo., to their cashier, need not now be examined. It is clear he had no longer the fund in his hands at the time the attachment was levied, the fund no longer belonged to Kraft, whose direction to Barrett to receive it and the subsequent payment to him by Sterrett, suffice to show that it was no longer a sum of money due to Kraft, and consequently was not liable to attachment in the hands of Sterrett.
The sum paid over to Barrett, by the garnishee, under Kraft’s instructions, was about three sevenths of the claim against Lizardi &amp; Oo.
The plaintiffs recovered a judgment for the amount of their demand, with an order that it be satisfied out of the effects attached in the case. Thereupon a fieri facias was issued and the notes mentioned in the answer of the garnishee were seized in his hands, amounting to $17,900. This seizure appears to have been made on the 14th February, 1840, and on the 29th April the writ was returned,, the sheriff stating that of the seizure nothing came into his hands and that no other property was found.
In the mean time, on the 17th March, the plaintiffs took a rule upon Sterrett, the garnishee, to show cause why he should not surrender the notes attached in his hands or, in default thereof, why judgment should not be rendered against him for the amount of the plaintiffs’ demand.
In this state of the case the Planters’ and Merchants’ Bank, of Mobile, the present appellees, intervened. In their petition they represent that [568] Kraft, the defendant, being indebted to them in a large amount, and having a claim against Lizardi &amp; Oo., in the hands of Sterrett, their attorney, for collection, gave them an order to their attorney to pay over to them three *714sevenths of the amount that might be collected; which order was duly presented and accepted prior to the attachment issued by the plaintiffs. They aver that subsequently to the assignment of that portion of the debt, Sterrett made an arrangement, whereby he agreed to discontinue the suit against Lizardi &lt;&amp; Oo., on receiving from them a certain part in money and the remainder in certain notes and bills receivable from Oammack &amp; Oo., who were also liable for the debt. That the notes attached are the same given by Oammack &amp; Oo., and that the petitioners are entitled to three sevenths thereof. They therefore ask to intervene and that they may be declared, entitled to receive three sevenths of all sums or claims or evidences of debt which have been attached in the case.
The commercial court gave judgment in conformity to the prayer of the petition of the intervenors, and the original plaintiffs appealed.
We are of opinion that the court erred. The order on Sterrett was for a certain portion of the claim in money when collected. The notes received by Sterrett, from Oammack &amp; Oo., not yet collected, were not affected by that order, and still remained the properly of Kraft. The draft on Sterrett cannot be regarded as a transfer of three sevenths of the claim against Lizardi &amp; Oo., but a direction how to dispose of the proceeds when collected. But even if it were to be considered as a transfer, it was imperfect as to third persons or creditors without notice to the debtor.
But there is another and stronger objection to the proceedings and judgment in favor of the intervenors. They do not sue as the creditors of Kraft, but of Sterrett. They do not allege a right of action against Kraft; nor do they ask a judgment against him. Their petition shows on the contrary that [569] they took the draft, on Sterrett, in consideration of a pre-existing debt, due by Kraft, but that draft was accepted and no new cause of action, as against Kraft, grew out of it. The case presented is then this, — a judgment creditor seizes upon notes and other evidences of debt, due to his debtor, and a person having no judgment interferes to prevent the sale of the property seized. He cannot be listened to unless he shows a judgment against the common debtor, or some title specifically to the property seized; and we have already said that, in our opinion, the notes attached were not affected by the order of Kraft on Sterrett; they remained the exclusive property of the former, liable to be attached by his creditors.
It is therefore adjudged and decreed that the judgment of the commercial court be avoided and reversed; and proceeding to give such judgment as, in our opinion, ought to have been rendered in the court below; it is further ordered, that the intervention of the Planters’ and Merchants’ Bank be dismissed at their costs, and that the rule taken on the garnishee be made absolute, and that he pay over to the sheriff, for the benefit of the plaintiffs the sum of $1500, received on one of the notes attaohed, and that he surrender the other notes mentioned in his answer and in the sheriff’s return, to the sheriff to be disposed of for the plaintiffs, in discharge of their judgment, according to law, and that the appellees pay the costs of this appeal.
